                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

DAVID DELL’AQUILA, LORANNDA                     )
BORJA, TODD CHESNEY, and BRENT                  )
WEBER, on behalf of                             )
themselves and all others similarly situated,   )
                                                )
                              Plaintiffs,       )
                                                )    No: 3:19-cv-00679
       - against -                              )    Judge William L. Campbell Jr.
                                                )
WAYNE LAPIERRE, NATIONAL RIFLE                  )    Magistrate Judge Jefferey S. Frensley
ASSOCIATION OF AMERICA, and                     )
NRA FOUNDATION, INC.                            )
                                                )
                              Defendants.       )


   MEMORANDUM OF LAW IN SUPPORT OF THE NRA’S MOTION TO DISMISS




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                                                I.

                               PRELIMINARY STATEMENT

       Last summer, Plaintiff David Dell’Aquila (“Dell’Aquila”) embarked on a self-described

“grass-roots effort” to impose personnel changes of his own upon the National Rifle Association

of America (the “NRA”).1 At first, Dell’Aquila tried to rally NRA donors to withhold funds until

his agenda was adopted.2 When that effort failed, Dell’Aquila filed this putative class action

against the NRA, the NRA Foundation (“NRAF”), and NRA Executive Vice President Wayne

LaPierre (“LaPierre”). Now, in his Second Amended Complaint (“Complaint”), Dell’Aquila adds

three additional named plaintiffs. Plaintiffs’ underlying grievances against the NRA’s leadership,

which take up pages of the Complaint but are irrelevant to the claims asserted, are misguided and

irrelevant here. To enlist the time and resources of this Court, Plaintiffs must do more than offer

vague, salacious accusations full of invective—they must satisfy federal pleading standards

applicable to their fraud and RICO claims. That Plaintiffs do not and cannot do.

       On behalf of themselves and two putative classes,3 Plaintiffs assert that they donated to the

NRA and the NRA Foundation based upon allegedly-false statements that those funds would be

used on certain charitable purposes.4 Without alleging that the NRA failed to fund those charitable

purposes, Plaintiffs accuse the NRA of fraud and racketeering based upon its alleged expenditures

for other, “alternative” purposes, including legal services, advertising and marketing, travel, and



1
  Danny Hakim, “NRA Donor Directs a Revolt Against a ‘Radioactive Leader,” NYTIMES (July
2, 2019), https://www.nytimes.com/2019/07/02/us/nra-donors-wayne-lapierre.html
2
  Id.
3
  Although a Rule 23 motion for class certification is not before the Court, Plaintiffs’ putative
classes, comprised of every American donor to the NRA or the NRAF from November 30, 2015
to January 26, 2019, respectively, cannot meet the requirements imposed by the Federal Rules of
Procedure. The putative classes fail the tests for all Rule 23(a) requirements and the predominance
and superiority factor pursuant to Rule 23(b) on which Plaintiffs base them.
4
  Complaint ¶ 36.


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personnel.5 Notably, Plaintiffs do not allege that donations raised for specific programs or

purposes were diverted.

       Because Plaintiffs lack standing to challenge Defendants’ expenditures, their claims must

be dismissed for lack of subject-matter jurisdiction. Plaintiffs also fail to state a claim upon which

relief can be granted for Counts I and III against the NRA for Fraud and Violation of RICO,

respectively. First, the Complaint is devoid of allegations sufficient to satisfy the elements of a

claim for fraud, including falsity of representation, knowledge, intent, reliance, or injury. Second,

Plaintiffs fail to properly plead a RICO violation, as they fail to allege a distinct enterprise and the

elements of mail fraud pursuant to 18 USC § 1341. The Complaint falls woefully short of its

pleading requirements for each cause of action and therefore must be dismissed.

                                                  II.

                            STATEMENT OF RELEVANT FACTS

       Plaintiffs are allegedly NRA donors. In early Summer of 2019, in the midst of substantial

false media coverage promoted by enemies of the NRA, Plaintiff Dell’Aquila embarked on a

“grass-roots effort” to effect change at the NRA. As part of this effort, he appealed to other donors

to withhold donations pending those “changes” coming into effect. Importantly, he sought

attention from news outlets to spread his message.6 In August of 2019, Dell’Aquila filed this

lawsuit, earning more press coverage.7 In his original and First Amended Complaint, Dell’Aquila

was the sole class representative and represented himself pro se. After Defendants moved to




5
  Complaint ¶¶ 74, 93.
6
  Hakim, NYTIMES (July 2, 2019).
7
  Mark Maremont, “NRA Donor Files Suit Over CEO’s Expenses,” THE WALL STREET
JOURNAL (Aug. 7, 2019), https://www.wsj.com/articles/nra-donor-files-suit-over-ceos-
expenses-11565221846
                                                  12

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dismiss, Dell’Aquila, having retained counsel, amended his Complaint, adding three additional

named plaintiffs.

       Plaintiffs allege that Defendants solicited Plaintiffs to make donations to the NRA and

NRAF.8 Plaintiffs allege that Defendants advised via various statements that the donations “would

be used for gun safety education; to promote shooting sports and hunter safety; to foster wildlife

conservation; and to protect gun ownership rights in the United States,” which collectively

Plaintiffs refer to as the “NRA’s core mission.”9

       Plaintiffs assert that they relied on the following (or similar) web pages, e-mail

solicitations, and postal solicitations by the NRA and its employees (collectively, the

“Solicitations”10):

       •   The NRA website’s FAQ section “What is the NRA?”11

       •   The NRA website’s FAQ section “How does the NRA use my membership dues?”,

           including the following quote: “Your support will help us defend your Second

           Amendment freedom whenever and wherever it comes under attack. In addition, your

           membership dues will help the NRA cultivate the next generation of sportsmen and

           women through our youth firearms trainings… empower women with our self-defense

           programs…and support our police officers with our world-class law enforcement

           training programs.”12




8
  Complaint ¶¶ 11, 27.
9
  Complaint ¶¶ 71, 80, 90, 104.
10
   Plaintiffs’ remaining allegations concerning the content of solicitations are attributed to the
NRAF.
11
   Complaint ¶ 11.
12
   Complaint ¶ 13.
                                                12

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        •   The NRA’s “Uniform Disclosure Statement,” including the following quote:

            “Contributions raised will be used to advance the mission of the NRA.”13

        •   The NRA website’s “About the NRA” from January 6, 2016, including the emphasized

            quote: “While widely recognized today as a major political force and as America’s

            foremost defender of Second Amendment rights . . .”14

        •   Emails from Wayne LaPierre dated July 21, 2014 and July 18, 2019, encouraging

            membership renewal in advance of elections.15

        •   Letters from the NRA Office of Advancement dated April 28, 2016, May 8, 2017, and

            May 23, 2018, thanking Plaintiff Dell’Aquila for donating and reminding him of his

            next scheduled gift.16

        •   Letter from the former Executive Director of the NRA to Plaintiff Dell’Aquila dated

            March 15, 2018, stating, “Your leadership is vital to the future of the Second

            Amendment. It is the dedication of patriots like you that inspires others to stand up for

            freedom.”17

        •   Letter from Wayne LaPierre to Plaintiff Dell’Aquila dated July 3, 2018 stating, “Your

            leadership inspires so many to stand up and fight for the values we hold dear.”18

        •   Letter from the former Executive Director of the NRA dated July 11, 2018, thanking

            Plaintiff Dell’Aquila for donating and encouraging further donations.19




13
   Complaint ¶ 14.
14
   Complaint ¶ 23.
15
   Complaint ¶¶ 25-26.
16
   Complaint ¶¶ 28-29, 31.
17
   Complaint ¶ 30.
18
   Complaint ¶ 32.
19
   Complaint ¶ 33.
                                                 12

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        •   Membership renewal notifications sent by mail and received by all named Plaintiffs,

            including the statement: “Contributions raised will be used to advance the mission of

            the NRA.”20

        •   Exposure to “marketing messages” of unidentified time, place or content.21

        Plaintiffs allege that, in reasonable reliance on the Solicitations, Plaintiffs donated to the

NRA and NRAF between November 30, 2015 and January 26, 2019.22                       Each Plaintiff’s

contributions are contained in the allegations in the Complaint.           In summary, Plaintiffs’

“donations” allegedly consist of purchase of NRA license plates, unrestricted donations, and

membership upgrades.23

        Plaintiffs contend that they learned24 that the NRA’s Solicitations were “intentionally and

materially false,” instead using “significant portions of the donated funds for purposes unrelated

to the NRA’s core mission.”25 As examples of purportedly fraudulent spending by the NRA,

Plaintiffs point to a number of alleged expenditures for “alternative purposes,” including: (1) legal

services; (2) advertising and marketing services; (3) travel; (4) and personnel.26




20
   Complaint ¶ 34.
21
   Complaint ¶ 35.
22
   Complaint ¶¶ 73, 82, 92, 106.
23
   Complaint ¶¶ 37-40.
24
   Plaintiffs allege that they learned about the purportedly fraudulent activity through media
sources and an investigation conducted by the NRA’s former President, Lt. Col. Oliver North
(“North”). Apparently, Plaintiffs rely on media from the days leading up to and following North’s
ouster from his position, in the wake of an attempted coup that included extortion demands by
North upon Defendant LaPierre offering money in exchange for control of the NRA. The facts
and circumstances surrounding these events are the subject of pending litigation. See, e.g., National
Rifle Association of America v. Ackerman McQueen, Inc. et al. Civil Action No. 3:19-cv-02074-
G (United States District Court for the Northern District of Texas – Dallas Division); National
Rifle Association of America v. Ackerman McQueen, Inc. et al., Case No. CL19001757,
CL19002067 (Va. Cir. Ct. Alexandria).
25
   Complaint ¶¶ 41-42.
26
   Complaint ¶¶ 74, 93.
                                                 12

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        Based on these allegations, Plaintiffs assert claims for fraud and racketeering, specifically

mail fraud pursuant to 18 USC § 1341. The NRA now files this motion to dismiss the Second

Amended Complaint.

                                                  III.

                                            ARGUMENT

A.      Legal Standards for Motion to Dismiss.

        The NRA moves to dismiss pursuant to Rules 12(b)(1) and 12(b)(6).

        1.      Rule 12(b)(1): Lack of Subject Matter Jurisdiction.

        Plaintiffs must establish that the Court has subject-matter jurisdiction in order to survive a

motion to dismiss pursuant to Rule 12(b)(1). Standing to sue is a requirement of jurisdiction.27

Thus, “[i]f no plaintiff has standing, then the court lacks subject-matter jurisdiction” and “cannot

proceed at all in any cause.”28 Courts must dismiss complaints for lack of subject-matter

jurisdiction pursuant to Rule 12(b)(1) if the plaintiffs lack standing.29

        In order to establish standing, plaintiff must show that “(1) it has suffered injury in fact that

(a) concrete and particularized and (b) actual or imminent, not conjectural or hypothetical; (2) the

injury is fairly traceable to the challenged action of the defendant; and (3) it is likely, as opposed

to merely speculative, that the injury will be redressed by a favorable decision.”30 The “critical

question is whether at least one petitioner has alleged such a personal stake in the outcome of the

controversy as to warrant his invocation of federal-court jurisdiction.”31



27
   State by and through Tennessee Gen. Assembly v. United States Dep’t of State, 931 F.3d 499,
507 (6th Cir. 2019) (internal quotations and citations omitted).
28
   Id.
29
   See, e.g., Lyshe v. Levy, 854 F.3d 855, 857 (6th Cir. 2017); Taylor v. KeyCorp, 680 F.3d 609,
612 (6th Cir. 2012).
30
   Tennessee General Assembly, 931 F.3d at 507.
31
   Horne v. Flores, 557 U.S. 433, 445 (2009) (internal quotations and citations omitted).
                                                   12

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        2.       Rule 12(b)(6): Failure to State a Claim.

        A complaint only survives a Rule 12(b)(6) motion to dismiss “if it contains sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face.”32 Although

the court must accept a plaintiff’s allegations as true on a motion to dismiss, the court “need not

accept as true legal conclusions or unwarranted factual inferences . . . and conclusory allegations

or legal conclusions masquerading as factual allegations will not suffice.”33 A “formulaic recitation

of the elements of a cause of action will not do”34 nor will a “legal conclusion couched as a factual

allegation.”35

B.      Plaintiffs Lack Standing.

        This Court lacks subject-matter jurisdiction over this case because Plaintiffs lack standing

to challenge the NRA’s use of donated funds. First, the New York Not-for-Profit Corporation Law

limits those that may challenge nonprofit corporate action to certain individuals, including the

attorney general, directors, officers, and other limited groups suing “in the right of the

corporation.”36 Plaintiffs are not included in any of the statutory groups and therefore lack

standing.

        Moreover, courts routinely hold that donors lack standing where they make contributions

to nonprofits without some restriction or contingent ownership interest in place.37 Plaintiffs do not


32
   Kantz v. Rubin Lublin, PLLC, 2015 WL 1543531, at *7 (M.D. Tenn. Apr. 6, 2015) (quoting
Courie v. Alcoa Wheel & Forged Prods., 577 F.3d 625, 629 (6th Cir. 2009) (internal citations and
quotations omitted)).
33
   Kantz, 2015 WL 1543531, at *7 (citing In re Travel Agent Comm’n Antitrust Litig., 583 F.3d
896, 903 (6th Cir. 2009) (internal citations and quotations omitted)).
34
   Republic Bank & Trust Co. v. Bear Stearns & Co., 683 F.3d 239, 246-47 (6th Cir. 2012).
35
   Fritz v. Charter Twp. of Comstock, 592 F.3d 718, 722 (6th Cir. 2010) (internal quotations and
citations omitted).
36
   See New York Not-for-Profit Corporation Law § 720.
37
   See, e.g., Wilding v. DNC Servs. Corp., 2017 WL 6345492, at *5 (S.D. Fla. Aug. 25, 2017)
(“The act of donating to an organization does not, of itself, create a legally protected interest in the
organization’s operations”) (citing Orient v. Linus Pauling Inst. Of Sci. and Med., 936 F.Supp.
                                                  12

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allege that their donations, in the form of unrestricted donations, membership upgrades, and license

plate purchases, were subject to any restrictions or subject to any continuing ownership interest.38

Plaintiffs therefore lack standing and this action must be dismissed in its entirety.

C.      Plaintiffs Fail to State a Claim for Fraud.

        A plaintiff asserting a claim for fraud or a RICO claim sounding in fraud must state with

particularity the circumstances constituting the fraud pursuant to Rule 9(b) or be dismissed. 39 In

order to satisfy Rule 9(b), a plaintiff must “(1) specify the statements that the plaintiff contends

were fraudulent, (2) identify the speaker, (3) state where and when the statements were made, and

(4) explain why the statements were fraudulent.”40

        Under Tennessee law, a plaintiff asserting a claim for fraud41 must establish that defendant

(1) made a false statement concerning a material fact (2) with knowledge of the statement's falsity




704, 707 (D. Ariz. 1996) (“Funding research does not automatically confer a legally protected
interest in that organization’s assets on a donor, absent independent rights such as those that might
arise in a contractual relationship”).
38
   See, e.g., Carl J. Herzog Found., Inc. v. Univ. of Bridgeport, 699 A.2d 995, 999 (Conn. 1997)
(“[I]t is clear that the general rule at common law was that a donor had no standing to enforce the
terms of a completed charitable gift unless the donor had expressly reserved a property interest in
the gift.”); Iris J. Goodwin, Donor Standing to Enforce Charitable Gifts: Civil Society v. Donor
Empowerment, 58 Vand. L. Rev. 1093, 1145 (2005) (“To return to the particulars of the current
law with respect to donor standing, nearly all the modern American authorities—decisions, model
acts, statutes, and commentaries—deny a donor standing to enforce a restricted gift to public
charity absent express retention of a reversion in the donative instrument.”).
39
   See Hayes v. Burns, 2013 WL 4501464, at *5 (M.D. Tenn. Aug. 22, 2013) (fraud); see also
Blount Fin. Serv., Inc. v. Walter E. Heller & Co., 819 F.2d 151, 152 (6th Cir. 1987) (RICO).
40
   Smith v. Bank of America Corp, 485 Fed. Appx. 749, 752 (6th Cir. 2012) (internal citations and
quotations omitted).
41
   Although it is unclear whether Plaintiffs are asserting a claim for common law fraud or
fraudulent inducement, it is irrelevant for the Court’s purposes because the elements lacking from
Plaintiffs’ allegations are necessary for either claim. See Baugh v. Novak, 340 S.W.3d 372, 388
(Tenn. 2011).
                                                 12

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or reckless disregard for its truth (3) the statement was reasonably relied upon, and (4) an injury

resulted from this reliance.42

        1.      Falsity.

        Plaintiffs fail to allege that the statements43 made by the NRA were false. Rather, Plaintiffs

allege in conclusory fashion that the Solicitations were false because the NRA spent resources on

“alternative purposes” that Plaintiffs allege do not meet the “NRA’s core mission.” That bare

assertion is plainly insufficient at the pleading stage.

        First, most of the so-called Solicitations actually contain no promise on behalf of the NRA

as to how any donated funds will ultimately be used. Rather, they consist of general information

about the NRA and its history, rallying calls before key elections, and thank you letters for past

contributions. Plaintiffs’ claim for fraud is limited only to the portions of those Solicitations that

potentially speak to how donated funds may be used.

        Plaintiffs fail to allege why the expenditures complained of fail to meet the uses conveyed

by the Solicitations (to the extent they specify any). Although Plaintiffs point to specific

expenditures of which they apparently do not approve, the vast majority of the NRA’s expenditures

are not alleged to fall without Plaintiff’s definition of the “NRA’s core mission.” Of course, there

can be no dispute that the NRA spends its funds on gun safety education, promotion of shooting

sports and hunter safety, wildlife conservation, and Second Amendment advocacy. Moreover,



42
   See PNC Multifamily Capital Inst. Fund v. Bluff County Dev. Corp., 387 S.W.3d 525, 548 (Tenn.
Ct. App. 2012).
43
    Although the Second Amended Complaint does, unlike the original and First Amended
Complaint, allege some specific statements by the NRA, to the extent Plaintiffs allege that they
were “exposed to the marketing messages of Defendants,” or any other such unparticularized
allegations, Plaintiffs have failed to plead with particularity the time, place, and content of the
allegedly fraudulent statement. Any claims arising from these “statements” must therefore be
dismissed pursuant to Rule 9(b). See Walburn v. Lockheed Martin Corp., 431 F.3d 966, 972 (6th
Cir. 2005).
                                                  12

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though Plaintiffs may disagree with the NRA’s expenditures, simply declaring certain areas of

spending not within the NRA’s core mission (or deciding how best to achieve the goals of that

mission) is not Plaintiffs’ prerogative. The NRA’s decision to devote certain resources as it

determines in its business judgment are appropriate is not actionable in fraud simply because

Plaintiffs disagree with certain, isolated expenditures.

        However, even putting aside what constitutes expenditures that fit within the “NRA’s core

mission,” the NRA’s statements cited by Plaintiffs are unquestionably true.            Not a single

Solicitation alleged by Plaintiffs states that donated funds will be exclusively (or even mostly) used

to fund the “NRA’s core mission.”44 Therefore, Plaintiffs complaint, at most, is essentially that

some donations were used for purposes that Plaintiffs dislike. Even if that is true, it does not

constitute fraud.

        2.     Knowledge and Intent.

        Plaintiffs fail to allege in more than a passing, conclusory assertion that the NRA knew of

and intended the alleged falsity of its statements.45 They fail to allege that the NRA acted with a

reckless disregard for their truth, nor that the NRA intended to induce Plaintiffs’ reliance upon any

alleged misrepresentations.46

        When a fraud claim relates to the alleged promise of some future action by defendant, there

must be a “misrepresentation[] made without the present intention to carry it out.”47 “Neither the



44
   See, e.g., “Your support will help us defend your Second Amendment freedom whenever and
wherever it comes under attack. In addition, your membership dues will help the NRA cultivate
the next generation of sportsmen and women through our youth firearms trainings…empower
women with our self-defense programs…and support our police officers with our world-class law
enforcement training programs” (Complaint 13), “Contributions raised will be used to advance the
mission of the NRA” (Complaint 14).
45
   Complaint ¶ 12.
46
   See Baugh, 340 S.W.3d at 388.
47
   Power & Telephone Supply Co., Inc. v. SunTrust Banks, Inc., 447 F.3d 923, 931 (6th Cir. 2006).
                                                 12

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failure to in fact keep the promise, nor the plaintiff’s subjective impression will demonstrate that

there was no present intention to carry out the promise.”48 Plaintiffs do not allege, as they must,

that the NRA made a representation that at the time it did not intend to fulfill. Nor could they: the

NRA unquestionably used and uses donated funds to fulfill its mission, even as defined by

Plaintiffs. However, even assuming arguendo that Plaintiffs had alleged a misrepresentation

(which they do not), they cannot plead the element of intent for any future expenditures that were

not in contemplation at the time of the Solicitation.49 Plaintiffs fail to allege knowledge or intent.

        3.      Reliance.

        “Conclusory statements of reliance are not sufficient to explain with particularity how a

plaintiff detrimentally relied on the alleged fraud.”50 Further, “reliance on a fraudulent

misrepresentation must be reasonable; if one knows the truth and is not deceived, he is not

defrauded.”51

        Plaintiffs fail to allege reliance, baldly asserting that they “reasonably relied upon the

statements made.”52 The Solicitations Plaintiffs allege that they relied on in making donations

consist of general information about the NRA and its history, rallying calls before key elections,

and (perhaps most bizarre) thank you letters for past contributions. Most of the Solicitations do

not convey a message related to how donated funds will be used at all. As discussed above, even

the Solicitations that do provide some remote indication of how funds may be used convey that

those funds will be used to “help” or “advance” the NRA’s goals. 53             All nonprofits have



48
   Id.
49
   Id.
50
   Kantz, 2015 WL 1543531, at *6 (internal citations and quotations omitted).
51
    Coffey v. Foamex L.P., 2 F.3d 157, 162 (6th Cir. 1993) (internal citations and quotations
omitted).
52
   Complaint ¶ 36.
53
   See Section III.C.1, supra.
                                                 12

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expenditures to which, in the business judgment of management,54 they must devote resources in

order to function. Thus, Plaintiffs’ assertions that the NRA’s expenditures on legal or marketing

services is somehow fraudulent is without merit.

        4.     Injury.

        Plaintiffs’ conclusory assertion that they have been injured by the NRA’s expenditures fails

to allege this element, as well. When there is no fraudulent misrepresentation, there can be no

causation. Even assuming Plaintiffs adequately pleaded a misrepresentation by the NRA, which

they do not and cannot do, and assuming that they actually and reasonably relied upon that

representation, which they do not, it is only the specific monies donated by Plaintiffs and allegedly

misapplied by the NRA that would qualify as the harm—a very small sum.55

        The Amended Complaint’s allegations of fraud must therefore be dismissed.

D.      Plaintiffs Fail to State a Claim for a RICO Violation.

        In order to plead a RICO violation under 18 USC § 1962(c), a plaintiff must adequately

allege that defendant conducted an enterprise through a pattern of racketeering activity.56 A RICO

violation may be predicated on mail (or wire) fraud. To state a claim for a mail fraud in violation

of RICO pursuant to 18 USC § 1341, a plaintiff must allege (1) a scheme to defraud involving the

use of mail (2) for the purpose of executing the scheme.57 In pleading the predicate fraudulent

misrepresentations, a plaintiff must meet the Rule 9(b) pleading standard.58 A plaintiff alleging

mail fraud “must also demonstrate scienter to establish a scheme to defraud, which is satisfied by

showing the defendant acted either with a specific intent to defraud or with recklessness with



54
   New York Not-for-Profit Corporation Law § 717 (Duty of directors, officers, and key persons).
55
   See Graham v. American Cyanamid Co., 350 F.3d 496, 507 (6th Cir. 2003).
56
   See Moon v. Harrison Piping Supplies, 465 F.3d 719, 723 (6th Cir. 2006).
57
   See United States v. Frost, 125 F.3d 346, 354 (6th Cir. 1997).
58
   See Heinrich v. Waiting Angels Adoption Servs., Inc., 668 F.3d 393, 405 (6th Cir. 2012).
                                                 12

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respect to potentially misleading information.”59        In addition, the predicate act must be a

“proximate cause” of the injury.60

        Plaintiffs fail to properly plead a RICO enterprise and fails to adequately allege the

predicate acts of mail fraud, each of which is required to survive a motion to dismiss.

        1.      RICO Enterprise.

        A RICO “person” can be either an individual or a corporation, and a RICO “enterprise”

may consist of any legal or de facto association. However, “[t]he enterprise itself is not liable for

RICO violations; rather, the ‘persons’ who conduct the affairs of the enterprise through a pattern

of racketeering activity are liable.”61 Accordingly, to establish RICO liability, a plaintiff “must

allege and prove the existence of two distinct entities: (1) a ‘person’; and (2) an ‘enterprise’ that is

not simply the same ‘person’ referred to by a different name.”62 This principle is known as the

“non-identity” or “distinctiveness” requirement, and its consequence is that “a corporation may

not be liable under [RICO] for participating in the affairs of an enterprise that consists only of its

own subdivisions, agents, or members. An organization cannot join with its own members to

undertake regular corporate activity and thereby become an enterprise distinct from itself.”63

        Plaintiffs’ Count III for RICO Violation asserts that the NRA, through its own employees,

including LaPierre, conducted an enterprise in violation of RICO. Where, as here, a complaint

“alleges an enterprise consisting of affiliated entities [and/or agents],” but fails to allege “that the




59
   Id. at 404.
60
   Id. at 405.
61
   In re ClassicStar Mare Lease Litig., 727 F.3d 473, 490 (6th Cir. 2013).
62
   Id., citing Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158, 161 (2001).
63
   Id. (internal citations and quotation marks omitted); see also Pineda Transportation, LLC v.
FleetOne Factoring, LLC, 2018 WL 2137760, at *5 (M.D. Tenn. May 9, 2018) (cannot allege
simultaneously that “corporation is a RICO enterprise” and that “corporation is also a person
illegally engaged in racketeering activity”).
                                                  12

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entities were conducting the affairs of a separate ‘enterprise,’” any RICO claims fail.64 Plaintiffs

“cannot maintain an action against [the corporation] as both the ‘enterprise’ and the ‘person’

subject to liability under RICO.”65 That is, however, exactly what they have attempted to do.

Plaintiffs’ RICO claim against the NRA must therefore be dismissed.

        2.     Mail Fraud.

        Further, a plaintiff alleging mail fraud must adequately allege a scheme to defraud, use of

the mails in furtherance of the scheme, scienter, and proximate cause. As discussed above,

Plaintiffs fail to adequately allege fraud. Plaintiffs’ failure to adequately allege the underlying

fraudulent activity is fatal to their claim.66 Further, the Second Amended Complaint’s sole

allegation of state of mind is that the NRA “knew” that its statements were “intentionally false.”67

This conclusory allegation does not adequately plead recklessness or specific intent and is a classic

example of a “legal conclusion masquerading as [a] factual allegation” and “will not suffice.”68

Lastly, Plaintiffs clearly fail to allege, and cannot establish, proximate cause. Where there is no

satisfactory allegation of a predicate fraudulent act or reliance upon that act, there can of course

be no direct causal link between the defendant’s conduct and the alleged injury.

        Count III for Violation of RICO must therefore be dismissed.

                                                IV.

                                         CONCLUSION

        For the foregoing reasons, the NRA respectfully requests that the Court dismiss Counts I

and III of the Second Amended Complaint.


64
   See, e.g., Tronsgard v. FBL Fin. Grp., Inc., 312 F. Supp. 3d 982, 998 (D. Kan. 2018)
65
   Bailey v. Memphis Bonding Company, Inc., 2019 WL 1300092, at *4 (W.D. Tenn. Mar. 21,
2019).
66
   See Section C, supra.
67
   Complaint ¶ 12.
68
   Kantz, 2015 WL 1543531, at *7.
                                                 12

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                                 CERTIFICATE OF SERVICE

        I do hereby certify that a copy of the foregoing was filed electronically. Notice of this
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       Date: February 19, 2020

                                                       /s/ W. Allen McDonald




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